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                     Case 4:12-cr-00054-FL Document 99 Filed 04/12/21 Page 1 of 2
                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                EASTERN DIVISION

                                     NO. 4:12-CR-54-FL-1


 UNITED STATES OF AMERICA,                    )
                                              )
           V.                                 )
                                              )                    ORDER
 NIGEL OMAR GRAY,                             )
                                              )
                        Defendant.            )



        This matter is before the court on defendant's renewed motion for compassionate release

pursuant to 18 U.S.C. § 3582(c)(l)(A). (DE 96). The Federal Bureau of Prisons ' inmate locator

website indicates defendant has been transferred to a residential reentry center.   Defendant,

however, has not provided the court with his new mailing address, and the court cannot obtain

defendant's address from public sources.    Accordingly, the instant motion for compassionate

release (DE 96) is DISMISSED without prejudice for failure to prosecute. See Local Crim. R.

57.3.

        SO ORDERED, this the 2nd day of April, 2021.




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         Case 4:12-cr-00054-FL Document 99 Filed 04/12/21 Page 2 of 2
